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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA


UNITED STATES OF AMERICA,                )
                                         )
      V.                                 )      Case No. l:20-cr-00107
                                         )
DAWSON M. ROUSE,                         )
                                         )
      Defendant.                         )

     DEFENDANT'S RESPONSE TO UNITED STATES' MOTION FOR CONTINUANCE


      Dawson M. Rouse, defendant, does not object to the United States' second motion for

continuance. Document 26.

      Dated: December 30, 2020.

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                                                 I sl Michael R. Hoffman
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